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                          UNITED ST ATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


 BARBARA GAYLE, et al.,                      )
                                             )
                        Plaintiffs,          )    Case No. 1:19-CV-03451
                                             )    W.H.P III, J.
                V.

 PFIZER INC., et al.
                                             )
                        Defendants.          )

           PFIZER INC.'S MOTION FOR JUDGMENT ON THE PLEADINGS

       Pfizer Inc., by and through counsel, hereby moves for judgment on the pleadings

dismissing Plaintiffs' Complaint with prejudice for failure to state a claim for relief, pursuant to

Federal Rule of Civil Procedure 12(c).



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Dated: New York, New York.
       September 16, 2019
                                                   By:��:=?�
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